        Case 17-57865-bem                Doc 36      Filed 11/14/17 Entered 11/14/17 07:33:10                         Desc Main
                                                     Document     Page 1 of 4
                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF GEORGIA
                                                         ATLANTA DIVISION

IN RE:                                                                 *             Case No: 17-57865
Vinod Laxmidas Patel,                                                  *             Chapter 13
Debtor.                                                                *

                                                FOURTH AMENDED CHAPTER 13 PLAN
  Extension                                                                                                           Composition          x

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy Court may
modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the collateral
securing your claim, and/or by setting the interest rate on your claim.

SPECIAL NOTICE TO SUNTRUST BANK, N.A. and RESIDENTIAL REALTY, INC: This Plan proposes to bifurcate or strip your
liens. See paragraph 6(B) and 10(f) below.

Vinod Laxmidas Patel, hereinafter called "Debtor," proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion of
future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $3,035.00 per month (“Monthly Payment”) to Trustee by [X] Payroll
Deduction(s) or by [ ] Direct Payment(s) for the applicable commitment period of 36 months, unless all allowed claims in every class,
other than long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed sixty (60) months. See 11
U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-confirmation adequate
protection payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

         The following alternative provision will apply if selected:

              IF CHECKED, Plan payments will increase by $____ on ____________ upon completion or termination of __________.

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An allowed
proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth below,
unless the holder of such claim or expense has agreed to a different treatment of its claim.
          (A). Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the Attorney General and the United
States Trustee.
          (B). Debtor's Attorney's Fees. Debtor and Debtor’s attorney have agreed to a base attorney fee in the amount of $3,000.00
for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $0.00 was paid prior to the filing of
the case. The Trustee shall disburse the unpaid amount of the fee, $3,000.00, as allowed under General Order 18-2015, as follows: (1)
Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor’s attorney from the funds available and
paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to $3,000.00 after the payment of any payments under 11 U.S.C. §
1326(a)(1)(B) or (C) and administrative fees. The remaining balance of the fees shall be paid up to $1,842.00 per month until the fees
are paid in full; (2) If the case is converted prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor’s attorney
from the funds available of $2,000.00; (3) If the case is dismissed prior to confirmation of the plan, fees for Debtor’s attorney of $2,000.00
as set forth on the 2016(b) disclosure statement are allowed pursuant to General Order 18-2015 and shall be paid by the Trustee from
the funds available without a fee application. Debtor’s attorney may file a fee application for fees sought over $2,000.00 within 10 days of
the Order of Dismissal; (4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay to Debtor’s attorney
from the funds available, any allowed fees which are unpaid; and (5) If the case is dismissed after confirmation of the plan, Trustee shall
pay to Debtor’s attorney from the funds available, any allowed fees which are unpaid.
          (C). Non-Base Services. Debtor and Debtor's attorney have further agreed that Debtor's attorney may be paid for "non-base
services" as they are performed on an as-needed basis. These "non-base" services, and the agreed fee for each, are identified in
paragraph 6 of the Rule 2016(b) disclosure statement in this case. Upon completion of a "non-base" service, Debtor's attorney may file
an application with the Court, serving all parties in interest with notice of the application and providing an opportunity to be heard on the
matter. If the "non-base" fee is approved by the Court, then the non-base fee shall be added to any unpaid balance of the base fee and
paid in accordance with paragraph (4)(B) above. If the base fee has been paid in full, then the non-base fee shall be paid at the rate of
up to $2,062.00 per month, and the distributions to creditors shall be reduced, pro rata, by that amount until the non-base fee is paid in
full.

5. Priority Claims.
    A. Domestic Support Obligations. Debtor authorizes that any post-petition domestic support obligation payments may be paid
         through a state or superior court income deduction order. Further, DCSS may utilize review and modification procedures of
         the domestic support obligation when allowed under state law as detailed in 11 U.S.C. § 362(b)(2).

          x   None. If none, skip to Plan paragraph 5(B).
                  I. Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.
        Case 17-57865-bem                      Doc 36        Filed 11/14/17 Entered 11/14/17 07:33:10                         Desc Main
                                                             Document     Page 2 of 4
                   II. The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                       101(14A) and 302(b)(6).



                   III.        Anticipated Domestic Support Obligation Arrearage Claims
                               a) Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full
                                    pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by
                                    personal property, arrearage claims secured by real property, and arrearage claims for assumed leases
                                    or executory contracts.
         x None; or

                                                                                                     Estimated Arrearage          Projected Monthly
                                          Creditor (Name and Address)
                                                                                                            Claim                 Arrearage Payment




                               b)    Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned
                                     to, owed to, or recoverable by a governmental unit.
         x None; or

  Claimant and proposed
  treatment:

    B. Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but will not be funded until after
       all secured claims, lease arrearage claims, and domestic support claims are paid in full.

                               Creditor                                                           Estimated Claim
               Internal Revenue Service                                                               $0.00
             Georgia Department of Revenue                                                            $0.00

6. Secured Claims.
    A. Claims Secured by Personal Property Which Debtor Intends to Retain.
            I. Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of this plan or the
               order for relief, whichever is earlier, the Debtor shall make the following adequate protection payments to creditors
               pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection payments on allowed claims to the
               Trustee pending confirmation of the plan, the creditor shall have an administrative lien on such payment(s), subject to
               objection. If Debtor elects to make such adequate protection payments directly to the creditor, Debtor shall provide
               evidence of such payment to the Trustee, including the amount and date of the payment.

                 Debtor shall make the following adequate protection payments:

                          directly to the creditor; or

                          to the Trustee pending confirmation of the plan.

                                                                                                                           Adequate protection payment
                          Creditor                                              Collateral
                                                                                                                                     amount
                            None.

            II. Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal property
                shall be paid as set forth in subparagraphs (a) and (b). If Debtor elects to propose a different method of payment, such
                provision is set forth in subparagraph (c).
           a)     Claims to Which § 506 Valuation is NOT Applicable.                  Claims listed in this subsection consist of debts
                  secured by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of filing the
                  bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred within 1 year of
                  filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim
                  the monthly payment in column (f) based upon the amount of the claim in column (d) with interest at the rate stated in
                  column (e). Upon confirmation of the plan, the interest rate shown below or as modified will be binding unless a timely
                  written objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject
                  to the availability of funds.
         X None; or

                                                                                                                                             Monthly
                 Creditor                                      Collateral         Purchase Date     Claim Amount       Interest Rate
                                                                                                                                             Payment




            b)     Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims secured by
                   personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the Trustee will pay to the
        Case 17-57865-bem                    Doc 36   Filed 11/14/17 Entered 11/14/17 07:33:10                                    Desc Main
                                                      Document     Page 3 of 4
                holder of each allowed secured claim the monthly payment in column (f) based upon the replacement value as stated
                in column (d) or the amount of the claim, whichever is less, with interest at the rate stated in column (e). The portion
                of any allowed claim that exceeds the value indicated below will be treated as an unsecured claim. Upon confirmation
                of the plan, the valuation and interest rate shown below or as modified will be binding unless a timely written objection
                to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject to the availability
                of funds.
          X None; or

                                                                                                                                               Monthly
                 Creditor                               Collateral                Purchase Date      Replacement Value       Interest Rate
                                                                                                                                               Payment




     B. Claims Secured by Real Property Which Debtor Intends to Retain.
     Trustee may pay the Creditors listed below at the monthly rate indicated below until paid in full. Trustee will pay interest on the claims
     upon request, unless an objection to the claim is filed and an order is entered disallowing the requested interest.
                                                                AMENDED
                                                                                                                                        Projected Monthly
                            Creditor                                   Property Description                        Claim Amount
                                                                                                                                        Arrearage Payment
               SunTrust Bank, N.A.*                  3508 Emperor Way, Tucker, GA 30084      $50,000.00          $100.00
 Post confirmation payments to SunTrust Bank, N.A. shall increase to $910.00 in October 2017. SunTrust’s claim shall
 befunded with 5% interest.
             Presidential Realty, Inc.*
                                                     3508 Emperor Way, Tucker, GA 30084     $100,225.50          $100.00
                  Som Sharma *
 Post confirmation payments to Presidential Realty, Inc. Som Sharma shall increase to $1,809.00 in October 2017.
 Presidential Realty, Inc.’s claim shall be funded with 5% interest.
                   G M Patel *                       3508 Emperor Way, Tucker, GA 30084          N/A               N/A
        DeKalb County Tax Commissioner                3508 Emperor Way, Tucker, GA 30084          $5,216.00               $95.00
 SUNTRUST BANK, N.A.
 Debtor shall pay the entire amount due to SunTrust Bank, N.A. through Chaper 13 plan payments for the first priority deed to secure
 debt securing the property commonly known as 3508 Emperor Way, Georgia, 30084 (“Property”).

 PRESIDENTIAL REALTY
 This Chapter 13 plan shall treat the security interest held by Presidential Realty, Inc. Som Sharma (“Presidential”) in residential
 property on the second-priority Fifi, commonly known as 3508 Emperor Way, Tucker, GA 30084 ("Property") as secured up to the fair
 market value in the amount of $55,618.00 $100,225.50 with any amount in excess of the fair market value to be treated as a general
 unsecured claim for all purposes within the underlying Chapter 13 proceeding. Presidential's security interest in the Property in excess
 of $34,251.00 $100,225.50 shall be declared void and ordered extinguished upon completion of Chapter 13 plan payments in this
 case and upon full payment of Presidential’s secured claim ($100,225.50). At the completion of all payments required under the plan,
 any unsecured amount owed to Creditor regarding this property shall be determined void and the lien on the Property shall terminate
 and be released by the creditor pursuant to 11 U.S.C. § 1328, unless the Court enters an Order terminating the automatic stay prior to
 plan completion, and Creditor shall update the Fulton County property records to release the lien on the Property in accordance with
 the provisions of Georgia law.

 G M Patel - See section 10(a).

     C. Surrender of Collateral.
     Debtor will surrender the following collateral no later than thirty (30) days from the filing of the petition unless specified otherwise in
     the Plan. Any claim filed by a secured lien holder whose collateral is surrendered will be treated as unsecured. Any involuntary
     repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed motion and Court order, unless the automatic
     stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for the collateral identified
     below for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess, foreclose upon or sell the collateral.
     Nothing herein is intended to lift any applicable co-Debtor stay, or to abrogate Debtor's state law contract rights.

                                  Creditor                                                        Collateral to be Surrendered

                     Georgia Inn Beach Club                                                              Timeshare

7.   Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 10 is
     $19,863.00. After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro
     rata share of $0.00 or 0%, whichever is greater. Trustee is authorized to increase this dollar amount or percentage, if necessary, in
     order to comply with the applicable commitment period stated in paragraph 2 of this Plan.

8.   Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and payments
     due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column (c). Debtor proposes
     to cure any default by paying the arrearage on the assumed leases or contracts in the amounts projected in column (d) at the same
     time that payments are made to secured creditors. All other executory contracts and unexpired leases of personal property are
     rejected upon conclusion of the confirmation hearing.
          Case 17-57865-bem              Doc 36      Filed 11/14/17 Entered 11/14/17 07:33:10                           Desc Main
                                                     Document     Page 4 of 4
                                                         (b)                                  (c)                                 (d)
                    (a)
                                                  Nature of Lease or            Payment to be paid directly by the   Projected Arrearage monthly
                  Creditor
                                                  Executory Contract                        Debtor                      payment through plan
                   N/A

9.    Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this
      case, unless the Court orders otherwise.

10. Other Provisions:
a)   Special classes of unsecured claims. The debt to G M Patel is currently in deferment. If is debt comes out of deferment during
     the pendency of the bankruptcy, it will be funded directly by the co-debtor, Aruna Patel. Any claim filed by G M Patel shall not be
     funded in this case.
b)   Other direct payments. None.
c)   Other allowed secured claims. A proof of claim which is filed and allowed as a secured claim, but is not treated specifically under
     the plan, shall be funded with 0% interest as funds become available after satisfaction of the allowed secured claims which have
     been treated by the plan and prior to payment of allowed non-administrative priority claims (except domestic support obligation
     claims as set forth in paragraph 5(A), above) and general unsecured claims. Notwithstanding the foregoing, the Debtor or any other
     party in interest may object to the allowance of the claim.
d)   Fees under 3002.1(c). Any fees, expenses, or charges asserted under Fed.R.Bankr.P. 3002.1(c) shall not be funded through the
     Chapter 13 plan. Debtor will pay these post-petition expenses outside the plan unless the Court has disallowed them on a Motion
     filed under Fed.R. Bankr. P. 3002.1(e).
e)   Claim subject to lien avoidance pursuant to 11 U.S.C. § 522(f): The allowed secured claim of each creditor listed below shall
     not be funded until all allowed, secured claims which are being treated by the plan are satisfied. If an order is entered avoiding the
     creditor's lien, the creditor's claim shall be treated as a general, unsecured claim to the extent it is not otherwise secured by property
     of the estate and treated by the plan. To the extent that the creditor's lien is not avoided and is not otherwise treated by the plan,
     the secured claim shall be funded as set forth in the above paragraph. This paragraph shall apply to the following creditors:

     Presidental Realty and Som Sharma Lien shall be treated as general unsecured claims, in whole or in part, upon entry of an Order
     granting Debtor's Motion to Avoid Lien pursuant to 11 U.S.C. §§ 506(a), 506(d), 522 and 1322(b)(2); see also In Re Tanner, 217 F.3d
     1357 (11th Cir. 2000). Upon completion of plan payments, these second priority liens on real estate shall be void.

     Dated this Tuesday, November 14, 2017.

                                          /s/                                                                  /s/
     Charles M. Clapp, Attorney for Debtor                         Vinod Laxmidas Patel, Debtor.
     GA Bar No. 101089
     5 Concourse Parkway NE, Suite 3000
     Atlanta, Georgia 30328
     (404) 585-0040 (Office)
     (404) 393-8893 (Fax)
     charles@lawcmc.com
